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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

NEW YORK STATE RIFLE & PISTOL                      )
ASSOCIATION, INC., et al.,                         )
                                                   )
                        Plaintfffs,                )
                                                   ) Civil Action No. l 8-cv-134-BKS-ATB
       V.                                          )
                                                   )
GEORGE P. BEACH 11, et al.,
                                                   )
                                                   )
                        Defendants.

                            AFFIDAVIT OF JOHN D. OHLENDORF

        l, John D. Ohlendorf, being duly sworn, hereby depose and state as follows:

        l.      I am a citizen of the United States and a resident and citizen of Virginia. I am over

the age of 18, competent to testify, and I make this affidavit upon personal knowledge.

        2.      I am appearing in the above-captioned action pro hac vice, by leave of the Court,

as an attorney for the Plaintiffs.

        3.      Plaintiffs New York State Rifle and Pistol Association, Inc. ("NYSRPA") and

Robert Nash brought this suit on February 1, 2018, to challenge New York's restrictions on the

right to carry fireanns in public.

        4.      The Defendants moved to dismiss the Complaint on March 26, and the Parties

have recently completed briefing that motion.

        5.      In the accompanying motion, Plaintiffs seek leave to amend their Complaint to

add an additional plaintiff, Brandon Koch. As shown in the proposed Amended Complaint,

which is attached to Plaintiffs' motion as Attachment A, Mr. Koch alleges facts that are

substantively identical to those alleged by the current individual Plaintiff, Robert Nash.

        6.      Also attached to Plaintiffs' motion, as Attachment B, is a true and correct redline

showing the changes that Plaintiffs are requesting pennission to make to their Complaint.
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       7.      On May 2, 2018, I reached out to Defenda nts' counsel of record, Kelly L.

Munkwi tz, to inform her of our intent to seek leave to amend our Compla int and to ask
                                                                                          Defenda nts
Defenda nts' position on that request. Ms. Munkw itz authoriz ed me to represen t that

do not oppose Plaintif fs' motion for leave to amend.

       8.      Given the substant ive identity between Mr. Koch's allegatio ns and claims and

                                                                                            and
those in the original Compla int, Plaintiff s submit that the pending Motion to Dismiss
                                                                                                current
accomp anying briefs would apply to the Amende d Compla int to the same extent as the

operativ e Compla int.




                                                     ~ 1\~~- -' 20 I 8.
Subscrib ed and sworn before me this /S'tJ, day of __n1




                                                                                                   --

                                                          John C. Brown
                                                          Notary Public, District of Columbia
                                                          My Commission Expiras 6/14/2022




 (SEAL)




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 15, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will cause a copy of the document to be served

electronically on all parties or their counsel.


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                                                      Kathleen McCaffrey Baynes

                                                      Attorney for Plaintiffs




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